Case 4:20-cr-00017-TWP-VTW Document 76 Filed 04/12/22 Page 1 of 2 PageID #: 317




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 NEW ALBANY DIVISION


 UNITED STATES OF AMERICA                                                             PLAINTIFF


 V.
                                       CAUSE NO: 4:20-CR-17-TWP-VTW

 CHRISTOPHER HILL                                                                  DEFENDANT

                                        Electronically Filed


        DEFENDANT’S UNOPPOSED MOTION TO CONTINUE FINAL PRETIAL
                      CONFERENCE AND TRIAL DATES

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        Comes the Defendant, CHRISTOPHER HILL, by his appointed counsel, and moves this

 Court to continue the final Pretrial conference and trial dates scheduled in the above-styled action.

 As grounds, the Defendant states as follows:

        1. That the above-named Defendant is charged in a Superseding Indictment for knowingly

 possessing with intent to distribute 50 or more grams of methamphetamine, as proscribed by 21

 U.S.C. Section 841(a)(1) and (b)(1)(A)(viii) [DN 40].

        2. The undersigned submits that a postponement of the currently scheduled trial date of

 May 23, 2022, is necessary. Undersigned counsel continues to consult with his client and counsel

 for the United States regarding a potential plea agreement; however, an agreement has not been

 reached at this point in the case. Undersigned counsel believes that additional tasks are necessary

 to prepare for trial should efforts to resolve the case by agreement fail.

        3. The representative of the United States has authorized the undersigned to inform the

 Court that there is no opposition to this Motion to Continue.

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Case 4:20-cr-00017-TWP-VTW Document 76 Filed 04/12/22 Page 2 of 2 PageID #: 318




        4. Therefore, the Defendant CHRISTOPHER HILL, waives his right to proceed to trial

 pursuant to 18 U.S.C. Section 3161(h), since proceeding to trial on the currently scheduled date

 would deny Defendant’s counsel the reasonable time necessary for potentially resolving this action

 by agreement, or alternatively, effectively preparing for jury trial, taking into account the exercise

 of due diligence. 18 U.S.C. Section 3161(h)(B)(iv).

                                        Respectfully submitted,

                                        s/LARRY D. SIMON
                                        LARRY D. SIMON
                                        Attorney for Defendant CHRISTOPHER HILL
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                                        CERTIFICATION

        I hereby certify that on April 12, 2022, a copy of the foregoing Motion to Continue the

 Final Pretrial Conference and Trial Date was filed electronically. Service of this filing will be

 made on all ECF-registered counsel by operation of the court’s electronic filing system. Parties

 may access this filing through the court’s system.

                                                               s/LARRY D. SIMON
                                                               LARRY D. SIMON




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